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July 10, 2023

VIA ECF AND EMAIL

Hon. Analisa Torres
U.S. District Court, Southern District of New York
Daniel Patrick Moynihan United States Courthouse
500 Pearl St.
New York, NY 10007-1312

Re:    NRDC v. DeJoy, No. 22-cv-03442

Dear Judge Torres:

        Pursuant to the Court’s order extending the litigation stay in the above-captioned case (Dkt.
67), the parties submit the following joint status letter regarding the supplemental environmental
review process and the issuance of a revised record of decision.

        On June 30, 2023, the U.S. Postal Service published the draft supplemental environmental
impact statement (SEIS) for the Next Generation Delivery Vehicle (NGDV) Acquisitions program,
88 Fed. Reg. 42,401. The Postal Service is currently soliciting comments on the draft SEIS and
will hold a virtual public hearing on July 26, 2023. Id. The comment period will run until August
14, 2023. Id. The Postal Service had initially anticipated releasing the draft SEIS in May 2023.
See Dkt. 55 ¶ 12. However, the Postal Service had to undertake revisions of several aspects of its
environmental analysis, in part based on topics that commenters raised regarding the scope of the
SEIS. See 87 Fed. Reg. 43,561, 43,562 (July 21, 2022) (soliciting scoping comments). In addition,
the Postal Service required more time than initially anticipated to refine its analysis to ensure use
of appropriate modeling factors. Based on those developments, the Postal Service now expects to
finalize the revised record of decision for the NGDV Acquisitions program in October 2023
(instead of August 2023, as previously projected, see Dkt. 55 ¶ 13). That is still well before the
earliest date when the Postal Service may begin to receive NGDVs. The Postal Service now
expects to receive the first such vehicles in June 2024 (instead of October 2023, as previously
projected, see Dkt. 55 ¶ 5).

          The Postal Service’s vehicle modernization strategy will also include contracts for 9,250
commercial off-the-shelf electric vehicles, 9,250 commercial off-the-shelf gas vehicles, and more
than 14,000 charging stations. U.S. Postal Serv., USPS Moves Forward with Awards to Modernize
and Electrify the Nation’s Largest Federal Fleet (Feb. 28, 2023), https://about.usps.com/
newsroom/national-releases/2023/0228-usps-moves-forward-with-awards-to-modernize-and-
electrify-nations-largest-federal-fleet.htm. Delivery of the commercial off-the-shelf vehicles “is
intended to commence in December of this year, assuming successful completion of the [SEIS]
. . . , and the related issuance of [the] Record of Decision pursuant to the National Environmental
Policy Act.” Id.
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     Respectfully submitted,

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